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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


                                        )
FEDERAL TRADE COMMISSION,               )
                                        )
                Plaintiff,              ) Case No. 4:19-cv-00715
                                        )
             v.                         )
                                        )
ADVOCARE INTERNATIONAL, L.P., a limited )
partnership,                            )
                                        )
BRIAN CONNOLLY,                         )
                                        )
DANNY McDANIEL,                         )
                                        )
DIANE McDANIEL,                         )
                                        )
CARLTON HARDMAN, and                    )
                                        )
LISA HARDMAN,                           )
                                        )
                Defendants.             )
                                        )


                   PLAINTIFF’S NOTICE OF INITIAL DISCLOSURES

       In accordance with Local Rule CV-26(c), Plaintiff, the Federal Trade Commission, files

this notice concerning its Initial Disclosures to Defendants Danny McDaniel and Diane

McDaniel (“the McDaniels”). Plaintiff served its Initial Disclosures to the McDaniels by email,

in accordance with an agreement with their counsel, Baxter Banowsky, on December 16, 2019,

and has also sent its Initial Disclosures to the McDaniels via counsel by mail for delivery on

December 17, 2019.
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                                         Respectfully submitted,

                                         Alden F. Abbott
                                         General Counsel


Dated: December 16, 2019                 /s/ Aaron Haberman
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                                         M. HASAN AIJAZ
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                                         Attorneys for Plaintiff
                                         FEDERAL TRADE COMMISSION
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                                CERTIFICATE OF SERVICE

        The undersigned Plaintiff’s Counsel, Aaron Haberman, certifies that this document,
Plaintiff’s Notice of Initial Disclosures, was served on counsel of record for all Defendants on
December 16, 2019, through this Court’s ECF system at the time of this filing.


                                                     /s/ Aaron Haberman
